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                            UNITED STATES BANKRUPTCY COURT
                               DISTRICT OF NEW HAMPSHIRE

___________________________________

In re:
                                                             Chapter 11
Sanctuary Care, LLC, and                                     Case No. 17-10591
Sanctuary at Rye Operations, LLC,                            Case No. 17-10590
                                                             (Jointly Administered)

                                 Debtors.

___________________________________

            STIPULATED ORDER ON MOTION OF PUBLIC SERVICE COMPANY
           OF NEW HAMPSHIRE d/b/a EVERSOURCE MOTION TO VACATE AND
           REARGUE ORDER ON MOTION TO PROHIBIT UTILITY PROVIDERS
             FROM EXERCISING RIGHTS UNDER 11 U.S.C. § 366 (DOC ID # 84)

            Upon the Motion of Public Service Company of New Hampshire d/b/a Eversource

(“Eversource”) to vacate and reargue the order entered relative to 11 U.S.C. § 366 (Doc ID #

70), and the agreement of the Debtors to provide the adequate assurance of payment for utility

service that is satisfactory to Eversource, it is

            ORDERED, that this Order shall supersede the Order entered by this Court on May 2,

2017 (Doc. ID No. 70) relative to Eversource; and it is further

            ORDERED, that the Debtors have provided Eversource with adequate assurance of

payment satisfactory to Eversource; and it is further

            ORDERED, that provision of adequate assurance shall not relieve the Debtors from its

duty to pay invoices for post-petition service on a timely basis; and it is further

            ORDERED, that any future motion or proposed order in this case regarding “utilities”

generally, Eversource specifically, or seeking to modify this Order will be delivered to

Eversource’s counsel, listed below, via electronic mail or fax, at least five (5) days prior to



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delivery to this Court for consideration unless such motion or proposed order specifically

exempts Eversource from its applicability.



STIPULATED AND AGREED:

Sanctuary Care, LLC                           PUBLIC SERVICE COMPANY OF NEW
Sanctuary at Rye Operations, LLC,             HAMPSHIRE d/b/a EVERSOURCE


By: /s/ Peter Tamposi                         By: /s/ Honor S. Heath
Peter Tamposi, Esq.                           Honor S. Heath, Esq.




IT IS SO ORDERED

Dated: Manchester, New Hampshire
May 17, 2017


                                               /s/ Bruce A. Harwood
                                               The Honorable Bruce A. Harwood
                                               Chief United States Bankruptcy Judge




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